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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP,                           Master Docket: No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LIABILITY                           MDL No. 3014
LITIGATION

This Document Relates to:

All Personal Injury and Medical Monitoring
Cases


                          SCHEDULING ORDER REVISING
                           CERTAIN DEADLINES FOR THE
                PERSONAL INJURY AND MEDICAL MONITORING TRACKS

           Upon consideration of the Parties’ joint motion, the following deadlines shall apply:1

    I.     Individual Personal Injury Claims


    Date                 Individual Personal Injury Claims
    7/1/2024             Conclusion of general causation fact discovery.
    7/29/2024            Plaintiffs’ Rule 26(a)(2) expert disclosures on general causation.
    9/30/2024            Defendants’ Rule 26(a)(2) expert disclosures on general causation.
                         Conclusion of generally-applicable fact discovery, including Defendant
                         and non-party depositions (this deadline does not include case-specific
                         fact discovery).2


1
       This Order amends and supersedes the deadlines set forth at ECF No. 2355. All dates
herein assume timely completion of production. Further, the Parties reserve their full rights to
seek a different schedule if there are any further amendments permitted by the Court to one or
more of the operative complaints.
2
        The Parties recognize that, given the nature of the personal injury claims in the MDL, the
factual record and issues may evolve after the close of generally applicable fact discovery. To the
extent that plaintiffs or defendants request supplemental discovery in connection with the
prosecution of personal injury claims thereafter, the Parties shall confer on such request and the
appropriate scope thereof. In the event the Parties are unable to reach agreement, the matter shall
be presented to the Court for resolution.
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    Date                Individual Personal Injury Claims
    10/29/2024          Parties to submit stipulated or competing proposals for selection of
                        individual bellwether personal injury cases.
                        Plaintiffs’ Rule 26(a)(2) rebuttal expert disclosures on general causation.
    12/30/2024          Deadline to complete expert depositions on general causation.
    1/31/2025           Deadline to file Rule 702/Daubert motions on general causation experts.
    3/18/2025           Deadline for Parties to file oppositions to Rule 702/Daubert motions on
                        general causation experts.3
    4/21/2025           Deadline for reply briefs on Rule 702/Daubert motions on general
                        causation.
    05/2025 or          Potential hearing date on Rule 702/Daubert motions on general causation
    06/2025             (subject to Court’s scheduling).

           Schedule for summary judgment motions on general causation to be set by further order of

Court after deadline for filing of Rule 702/Daubert motions. Schedule for completion of fact and

expert discovery and motion practice on specific cases to be set by further order of Court.


    II.    Medical Monitoring Putative Class Action

           Date                        Medical Monitoring Putative Class Action
    7/1/2024            Conclusion of all fact discovery related to class certification, including
                        Party and non-party fact depositions.
    7/29/2024           Plaintiffs’ Rule 26(a)(2) expert disclosures relevant to class certification.
    9/30/2024           Defendants’ Rule 26(a)(2) expert disclosures relevant to class
                        certification.
    10/29/2024          Plaintiffs’ Rule 26(a)(2) rebuttal disclosures relevant to class certification.
    12/30/2024          Deadline to complete expert depositions relevant to class certification.
    1/31/2025           Deadline to file Rule 702/Daubert motions on class certification issues.
    3/18/2025           Deadline to file Rule 702/Daubert oppositions on class certification
                        issues.
    4/21/2025           Deadline to file reply briefs on Rule 702/Daubert motions on class
                        certification issues.


3
       Depending on the number of Rule 702/Daubert motions that are filed, the Parties may seek
an extension of time to file oppositions and reply briefs.
                                                    2
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       Date                         Medical Monitoring Putative Class Action
 5/2025 or 6/2025    Potential hearing date for Rule 702/Daubert motions on class
                     certification experts (subject to Court’s scheduling)

       Schedule for class certification motions to be set by further order of Court after deadline

for filing Rule 702/Daubert motions.



DONE and ORDERED this 16th day of April, 2024.



                                                   s/Joy Flowers Conti
                                            _____________________________________
                                            HONORABLE JOY FLOWERS CONTI
                                            Senior United States District Judge




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